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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility
requirements please call the number listed on your statement or visit your Wells Fargo branch.




Transaction history


                          Check                                                                                Deposits/        Withdrawals/       Ending daily
       Date             Number Description                                                                       Credits               Debits          balance
       8/1                      Recurring Payment authorized on 07/28 Simplifyem.Com                                                   75.00
                                510-790-9066 CA S582209321483473 Card 7052
       8/1               11341 Check                                                                                                  200.00
       8/1               11340 Check                                                                                                  625.00
       8/1               11320 Check                                                                                                  200.00
       8/1               11318 Check                                                                                                  480.00          4,535.75
       8/2                      Recurring Payment authorized on 08/01 Intuit *Qbooks Onl                                               92.54          4,443.21
                                Cl.Intuit.Com CA S302213444575462 Card 7052
       8/3                      Deposit                                                                         7,010.50
       8/3               11328 Check                                                                                                  240.00
       8/3               11326 Check                                                                                                  480.00
       8/3               11342 Check                                                                                                1,000.00          9,733.71
       8/5                      Deposit                                                                         3,119.00
       8/5               11335 Check                                                                                                  960.00         11,892.71
       8/8                      Recurring Payment authorized on 08/07 Intuit *Qbooks Onl                                               92.54         11,800.17
                                Cl.Intuit.Com CA S382219363048542 Card 7052
       8/9                      Purchase authorized on 08/08 Petro Home Svcs 800-645-4328                                           5,743.84          6,056.33
                                NY S302220668100306 Card 7052
       8/10                     Deposit                                                                         9,276.00                             15,332.33
       8/11                     Purchase authorized on 08/10 Petro Home Svcs 800-645-4328                                           5,743.84
                                NY S302222676108595 Card 7052
       8/11              11311 Check                                                                                                2,500.00          7,088.49
       8/12                     Purchase authorized on 08/11 Ipfs Ins Pmt Kansas City MO                                            1,609.64
                                S582223518974534 Card 7052
       8/12                     Purchase authorized on 08/11 Ipfs Ins Pmt Kansas City MO                                              922.12
                                S462223524082956 Card 7052
       8/12              11336 Check                                                                                                  960.00          3,596.73
       8/15                     Deposit                                                                         3,384.00
       8/15              11313 Check                                                                                                1,200.00
       8/15              11316 Check                                                                                                  250.00
       8/15              11344 Check                                                                                                  845.00          4,685.73
       8/16              11298 Check                                                                                                  650.00
       8/16              11321 Check                                                                                                  200.00
       8/16              11322 Check                                                                                                  480.00          3,355.73
       8/17                     Deposit                                                                         2,443.00
       8/17                     Stop Payment Fee                                                                                       31.00
       8/17              11330 Check                                                                                                  240.00
       8/17              11329 Check                                                                                                  480.00          5,047.73
       8/19                     Deposit                                                                         3,409.00
       8/19              11337 Check                                                                                                  960.00
       8/19              11310 Check                                                                                                  720.00
       8/19              11309 Check                                                                                                  720.00
       8/19              11308 Check                                                                                                  720.00          5,336.73
       8/22                     Purchase authorized on 08/18 Fsi*Coned Bill Pay                                                       225.47
                                866-405-1924 NY S302231124918169 Card 7052
       8/22                     Purchase authorized on 08/18 Fsi*Coned Bill Pay                                                         76.23
                                866-405-1924 NY S302231127097403 Card 7052
       8/22                     Purchase authorized on 08/18 Fsi*Coned Bill Pay                                                       320.32          4,714.71
                                866-405-1924 NY S582231128655711 Card 7052
       8/24              11306 Check                                                                                                  640.00
       8/24              11307 Check                                                                                                  960.00          3,114.71
       8/26                     Deposit                                                                         2,103.00
       8/26              11338 Check                                                                                                  960.00
       8/26              11348 Check                                                                                                  780.00
       8/26              11346 Check                                                                                                  250.22          3,227.49
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Transaction history(continued)
                          Check                                                                                  Deposits/        Withdrawals/            Ending daily
       Date             Number Description                                                                         Credits               Debits               balance
       8/29              11343 Check                                                                                                    750.00               2,477.49
       8/30                     Deposit                                                                            993.00
       8/30                     Deposit                                                                          5,101.00
       8/30                     Recurring Payment authorized on 08/28 Simplifyem.Com                                                        75.00            8,496.49
                                510-790-9066 CA S582240321047222 Card 7052
       8/31                     Home Depot Online Pmt 220830 630840973106534 Lupi                                                          890.00
                                Alvarado
       8/31              11317 Check                                                                                                        250.00
       8/31              11314 Check                                                                                                      1,200.00           6,156.49
       Ending balance on 8/31                                                                                                                                6,156.49

       Totals                                                                                                 $36,838.50           $36,797.76

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when
       your transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




Summary of checks written(checks listed are also displayed in the preceding Transaction history)

      Number            Date                Amount          Number            Date                 Amount          Number            Date                   Amount
      11298             8/16                 650.00         11317             8/31                  250.00         11336             8/12                    960.00
      11306 *           8/24                 640.00         11318             8/1                   480.00         11337             8/19                    960.00
      11307             8/24                 960.00         11320 *           8/1                   200.00         11338             8/26                    960.00
      11308             8/19                 720.00         11321             8/16                  200.00         11340 *           8/1                     625.00
      11309             8/19                 720.00         11322             8/16                  480.00         11341             8/1                     200.00
      11310             8/19                 720.00         11326 *           8/3                   480.00         11342             8/3                   1,000.00
      11311             8/11               2,500.00         11328 *           8/3                   240.00         11343             8/29                    750.00
      11313 *           8/15               1,200.00         11329             8/17                  480.00         11344             8/15                    845.00
      11314             8/31               1,200.00         11330             8/17                  240.00         11346 *           8/26                    250.22
      11316 *           8/15                 250.00         11335 *           8/5                   960.00         11348 *           8/26                    780.00

      * Gap in check sequence.




Items returned unpaid


       Date       Description                                                                                                                                Amount
       8/25       Check Reference # 00007227008423909301                                                                                                    1,000.00


Monthly service fee summary
For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to
wellsfargo.com/feefaq for a link to these documents, and answers to common monthly service fee questions.


       Fee period 08/01/2022 - 08/31/2022                                              Standard monthly service fee $10.00                    You paid $0.00

       How to avoid the monthly service fee                                                               Minimum required                    This fee period
       Have any ONE of the following account requirements
         • Average ledger balance                                                                                  $1,000.00                         $6,187.00   ÷
         • Minimum daily balance                                                                                    $500.00                          $2,477.49   ÷
       C1/C1
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Account transaction fees summary
                                                                             Units      Excess      Service charge per         Total service
      Service charge description                       Units used       included         units         excess units ($)          charge ($)
      Cash Deposited ($)                                        0           5,000            0                 0.0030                   0.00
      Transactions                                             83             100            0                    0.50                  0.00
      Total service charges                                                                                                            $0.00




Other Wells Fargo Benefits

Our National Business Banking Center customer service number 1-800-CALL-WELLS (1-800-225-5935) hours of operation have
temporarily changed to 7:00 a.m. to 11:00 p.m. Eastern Time, Monday through Saturday and Sunday 9:00 a.m. to 10:00 p.m. Eastern
Time. Access to our automated banking system, the ability to report a fraud claim on your business credit or debit card, and access
to report a lost or stolen business card will continue to be available 24 hours a day, 7 days per week. Thank you for banking with
Wells Fargo. We appreciate your business.




       IMPORTANT ACCOUNT INFORMATION

Elimination of Returned Item (Non-sufficient Funds/NSF) Fee and Revised Daily Fee Limit: Under the terms of your Deposit Account
Agreement, when certain transactions are presented for payment in an amount that is more than your available balance, Wells
Fargo may either (1) pay the item into overdraft at our discretion and assess an overdraft fee, or (2) return the item unpaid and
assess a Returned item/Non-sufficient funds (NSF) fee.

Effective June 1, 2022, we will no longer charge an NSF fee on items we return unpaid due to non-sufficient funds. Overdraft fees
will continue to apply to items we pay into overdraft at our discretion, under the terms of your Deposit Account Agreement (up to a
maximum of four fees per business day for business accounts). These changes do not impact fees that may be assessed by third
parties or other banks for returned items.

For current versions of your Deposit Account Agreement, Business Account Fee and Information Schedule, and applicable addenda,
please visit wellsfargo.com/biz/fee-information/.

To learn more about tools that Wells Fargo offers to help you avoid overdraft fees, visit
wellsfargo.com/biz/help/faqs/overdraft-services, speak with a local banker, or call the phone number on the top of your statement.



Elimination of Overdraft Protection transfer/advance fee(s): Under the terms of your Deposit Account Agreement, we offer an
optional Overdraft Protection service for checking accounts that allows you to link up to two eligible accounts (one savings, one
credit) to authorize or pay transactions when you don't have enough money in your checking account. Transfers and advances of
funds from these linked accounts may result in an Overdraft Protection transfer or advance fee.

Effective June 1, 2022, we will no longer charge transfer or advance fees for transfers/advances from accounts linked for Overdraft
Protection. For advances from a linked credit card or line of credit account, interest will continue to accrue from the date of each
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advance. Overdraft fees will continue to apply to items we pay into overdraft that are not covered by transfers/advances from your
linked account(s).



Effective with the fee period beginning after October 15, 2022, the courtesy Transactions fee waiver on this checking account will
expire. We want to make sure you understand what the Transactions fees are going forward. Your account includes 100
Transactions each fee period, at no charge. The fee for Transactions over 100 each fee period is $0.50 per transaction.

Fee Period: The fee period is the period used to calculate monthly fees. Your statement includes a monthly service fee summary
with the dates of the fee period. The monthly service fee summary is also available through Wells Fargo Business Online® or Wells
Fargo Mobile®.

Thank you for being a valuable customer. If you have any questions about this change, please contact your local banker or call the
number listed on your statement. Please note the Business Account Fee and Information Schedule and the Deposit Account
Agreement, as amended, continue to apply.



NEW YORK CITY CUSTOMERS ONLY -- Pursuant to New York City regulations, we request that you contact us at 1-800-TO WELLS
(1-800-869-3557) to share your language preference.



You no longer need to let us know when you travel

Due to enhanced security technology, you no longer need to let us know when you plan to travel. Please make sure your contact
information on Wells Fargo Online® is up to date so we may alert you if we find unusual activity.
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Important Information You Should Know
• To dispute or report inaccuracies in information we have furnished to                            • If your account has a negative balance: Please note that an account
a Consumer Reporting Agency about your accounts: Wells Fargo Bank,                                 overdraft that is not resolved 60 days from the date the account first
N.A. may furnish information about deposit accounts to consumer reporting                          became overdrawn will result in closure and charge off of your account. In
agencies. You have the right to dispute the accuracy of information that we                        this event, it is important that you make arrangements to redirect
have furnished to a consumer reporting agency by writing to us at                                  recurring deposits and payments to another account. The closure will be
Overdraft Collection and Recovery, P.O. Box 5058, Portland, OR                                     reported to Early Warning Services. We reserve the right to close and/or
97208-5058. Please describe the specific information that is inaccurate or                         charge-off your account at an earlier date, as permitted by law. The laws of
in dispute and the basis for the dispute along with supporting                                     some states require us to inform you that this communication is an
documentation. If you believe the information furnished is the result of                           attempt to collect a debt and that any information obtained will be used
identity theft, please provide us with an identity theft report.                                   for that purpose.

• In case of errors or questions about other transactions (that are not
electronic transfers): Promptly review your account statement within 30
days after we made it available to you, and notify us of any errors.


Account Balance Calculation Worksheet                                                                 Number                   Items Outstanding                   Amount
1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.


ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . . . $

ADD
B. Any deposits listed in your                                                $
   register or transfers into                                                 $
   your account which are not                                                 $
   shown on your statement.                                                 + $

    .. .. .. .. .. .. .. .. .. .. .. .. ... .. .. .. .. .. .. ..    TOTAL $

CALCULATE THE SUBTOTAL
  (Add Parts A and B)
  .. .. .. .. .. .. .. .. .. .. .. .. ... .. .. .. .. .. .. ..
  .                                                                 TOTAL $

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $


                                                                                                                                              Total amount $




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